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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                           EASTERN DIVISION (COLUMBUS)



MATTHEW D. HOOVER                      :
                                       :     CASE NO. 2:21-cv-4177
           Plaintiff,                  :
                                       :
v.                                     :
                                       :     PLAINTIFF’S MOTION FOR
4 SEASONS MOTORS INC.                  :     DEFAULT JUDGMENT AGAINST
(D/B/A NCC MOTOR SALE)                 :     DEFENDANTS
                                       :
and                                    :
                                       :
SAMER PHARRA                           :
                                       :
           Defendants.                 :
                                       :
                                       :
                                       :
                 ___________________________________________


       Pursuant to Fed. R. Civ. P. 55, Plaintiff Matthew D. Hoover (“Plaintiff”) moves for

default judgment against Defendants 4 Seasons Motors Inc. (d/b/a NCC Motor Sale) and Samer

Pharra. The complaint in this case was filed with the Court on September 15, 2021, and the

summons and complaint were duly served on Defendants on December 29, 2021 via certified

mail. See Dkt. No. 12. Defendants have not filed any responsive pleadings or otherwise appeared

in this action. Defendants are not an unrepresented minor or incompetent individual.

       On February 11, 2022, the Clerk of Courts entered Default against Defendants under Fed.

R. Civ P. 55(a). (See Dkt. No. 13). Accordingly, Plaintiff asks this Court to issue default

judgment against Defendants, and schedule a hearing on damages under Fed. R. Civ. P. 55(b).




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                                          Respectfully submitted,


                                      /s/ Adam V. Sadlowski
                                      Adam V. Sadlowski, Trial Attorney (0079582)
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                                      Attorney for Plaintiff




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                                 CERTFICATE OF SERVICE

       I certify that a copy of the foregoing Plaintiff’s Motion for Default Judgment Against

 Defendants has been served on February 11, 2022 upon the following parties via first class,

 U.S. mail:



4 Seasons Motors Inc. (dba NCC Motor Sale)
5240 Sinclair Rd.
Columbus, OH 43229

Samer Pharra (statutory agent)
1871 Kentwell Rd.
Upper Arlington, OH 43221


                                             /s/ Adam V. Sadlowski
                                             Adam V. Sadlowski




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